Case 2:07-cr-00029-GZS Document 101 Filed 01/22/08 Page 1 of 2                   PageID #: 306




                           UNITED STATES DISTRICT COURT
                                   District of Maine


UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )
                                             )      **Crim. No. 07-29-P-S
HALVOR CARL,                                 )
                                             )
            Defendants                       )
                                             )
                                             )


                         ORDER AFFIRMING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       The United States Magistrate Judge filed with the Court on December 6, 2007, his

Recommended Decision (Docket No. 94). Defendant Halvor Carl filed his Objection to the

Recommended Decision (Docket No. 96) on December 26, 2007. The Government filed its response

to Defendant Carl’s Objection (Docket No. 97) on December 27, 2007.

       I have reviewed and considered the Magistrate Judge's Recommended Decision, together

with the entire record; I have made a de novo determination of all matters adjudicated by the

Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United

States Magistrate Judge for the reasons set forth in his Recommended Decision, and determine that

no further proceeding is necessary.

       1.      It is therefore ORDERED that the Recommended Decision of the Magistrate Judge is
               hereby AFFIRMED.
Case 2:07-cr-00029-GZS Document 101 Filed 01/22/08 Page 2 of 2           PageID #: 307




      2.     It is hereby ORDERED that Defendant’s Second Motion to Suppress (Docket No.
             82) is DENIED.


                                               /s/George Z. Singal_________
                                               Chief U.S. District Judge

Dated: January 22, 2008
